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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF GEORGIA
                                     MACON DIVISION

 RICARDO DAUGHTRY,                                  *

                       Plaintiff,                   *
 v.                                                     Case No. 5:22‐cv‐59‐CAR‐CHW
                                                    *
 Lieutenant PROSSER, et al,
                                                    *
                   Defendants.
 ___________________________________                *


                                         JUDGMENT

        Pursuant to this Court’s Order dated January 3, 2025, and for the reasons stated therein,

JUDGMENT is hereby entered dismissing this case. Plaintiff shall recover nothing of Defendant.

        This 3rd day of January, 2025.

                                             David W. Bunt, Clerk


                                             s/ Raven K. Alston, Deputy Clerk
